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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             11/4/2021
Brian Totin,                                                   :
                                                               :     21-cv-5416 (KPF) (RWL)
                                              Plaintiff,       :
                                                               :     SETTLEMENT
                  - against -                                  :     CONFERENCE ORDER
                                                               :
                                                               :
Bohemia Realty Group, LLC., et al.,                            :
                                                               :
                                             Defendants. :
---------------------------------------------------------------X


ROBERT W. LEHRBURGER, United States Magistrate Judge.

        A settlement conference before Judge Robert W. Lehrburger is hereby scheduled

for December 16, 2021, at 9:30 a.m. to be conducted via Microsoft Teams.                 The

parties are instructed to review and adhere to Judge Lehrburger’s individual Settlement

Conference Procedures. The parties are further instructed to submit their pre-conference

submissions, along with their Attendance Acknowledgment Form (available in pdf fillable

format as attachment to the Settlement Conference Procedures) no later than December

9, 2021, by 5:00 p.m.

                                                     SO ORDERED.


                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE


Dated: 11/4/2021
      New York, New York

Copies transmitted this date to all parties of record and mailed to:

Brian Totin (pro se)
P.O. Box 230581
New York, N.Y. 10023
